          Case 18-48102            Doc 20        Filed 01/18/19             Entered 01/18/19 23:20:06           Main Document
                                                                          Pg 1 of 8
                                                 UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF MISSOURI

In re:                                                               )
Brian Keith Henderson                                                )     Case No.     18-48102
                                                                     )     Chapter 13
SSN: xxx-xx-9009                                                     ))    Hearing Date:     3/06/19
Debtor(s)                                                            )     Hearing Time: 9:00AM
                                                                     )     Hearing Loc:     Bankruptcy Courtroom 5 North.

                                                                CHAPTER 13 PLAN


1.1        A limit on the dollar amount of a secured claim, which may result in a                Included
           partial payment or no payment at all to the secured creditor.                         Not Included
1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money                      Included
           security interest.                                                                    Not Included
1.3        Nonstandard provisions set out in Part 5.                                             Included
                                                                                                 Not Included

Part 1.             NOTICES

TO DEBTORS: This form sets out options that may be appropriate in some cases, but the presence of an option does not indicate that
the option is appropriate in your circumstances or that it is permissible in the Eastern District of Missouri. Plans that do not comply
with local rules and judicial rulings may not be confirmable.

TO CREDITORS: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should
read this plan carefully and discuss it with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one. If you oppose the plan’s treatment, you or your attorney must file an objection to confirmation in accordance
with the Eastern District of Missouri Local Bankruptcy Rule 3015. The Bankruptcy Court may confirm this plan without further
notice if no objection to confirmation is filed. YOU MUST FILE A TIMELY PROOF OF CLAIM IN ORDER TO
PARTICIPATE IN DISBURSEMENTS PROPOSED IN THE PLAN. CLAIMS SHALL SHARE ONLY IN FUNDS
DISBURSED AFTER THE CHAPTER 13 TRUSTEE RECEIVES THE CLAIM.

Part 2.             PLAN PAYMENTS AND LENGTH OF PLAN

2.1     Plan Payments. Debtor is to make regular payments to the Chapter 13 Trustee as follows: (complete one of the
following payment options)

$800.00 per month for 12 months, then $1,150.00 per month for 48 months

2.2      Tax Refunds. Within fourteen days after filing federal and state income tax returns, Debtor shall provide the Chapter 13
Trustee with a copy of each return required to be filed during the life of the plan. The Debtor shall send any tax refund received
during the pendency of the Chapter 13 case to the Trustee; however, Debtor may retain a portion of a tax refund to pay income taxes
owed to any taxing authority for the same period as the refund. Debtor may also retain $1,250 for single filers or $1,500 for joint filers
and refundable tax credits consisting of Earned Income Credit (EIC) and Additional Child Tax Credit, each year.

2.3        Additional Lump Sums. Debtor shall send additional lump sums(s) consisting of NONE , if any, to be paid to the Trustee.

Part 3.             DISBURSEMENTS

Creditors shall be paid in the following order and in the following fashion. Unless stated otherwise, the Chapter 13 Trustee will make
the payments to creditors. All disbursements by the Trustee will be made pro-rata by class, except per month disbursements described
below. However, if there are funds available after payment of equal monthly payments in paragraph 3.5 and fees in paragraph 3.6,
those funds may be distributed again to those same paragraphs until paid in full before distributing to the next highest paragraphs:

3.1        Trustee. Pay Trustee a percentage fee as allowed by law.

3.2        Executory Contract/Lease Arrearages. Trustee will cure pre-petition arrearage on any executory contract accepted in
                                                                            1
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                                                                     Pg 2 of 8
paragraphs 3.3(A) or (B) over the following period, estimated as follows:

CREDITOR NAME                                       TOTAL AMOUNT DUE                        CURE PERIOD (6 months or less)
None                                                $0.00                                   6 months

3.3       Pay the following sub-paragraphs concurrently:

     (A) Post-petition real property lease payments. Debtor assumes executory contract for real property with the following
creditor(s) and proposes to maintain payments (which the Debtor shall pay) in accordance with terms of the original contract as
follows:

CREDITOR NAME                                       MONTHLY PAYMENT
-NONE-

     (B) Post-petition personal property lease payments. Debtor assumes executory contract for personal property with the
following creditor(s) and proposes to maintain payments (which the Trustee shall pay) in accordance with terms of the original
contract as follows:

CREDITOR NAME                                       MONTHLY PAYMENT                         EST MONTHS REMAINING
-NONE-

     (C) Continuing Debt Payments (including post-petition mortgage payments on real estate, other than Debtor's residence.)
Maintain payments of the following continuing debt(s) in accordance with terms of the original contract with any arrearages owed at
the time of filing to be cured in paragraph 3.5(A). Trustee shall make payments in the amount listed below or as adjusted by the
creditor under terms of the loan agreement.

CREDITOR NAME                                       MONTHLY PAYMENT
-NONE-

   (D) Post-petition mortgage payments on Debtor's residence. Payments due post-filing on debt(s) secured by lien(s) on
Debtor(s) residence shall be paid at the monthly amount listed below (or as adjusted by creditor under terms of loan agreement) to:

CREDITOR NAME                                       MONTHLY PAYMENT                         BY DEBTOR/TRUSTEE
Freedom Mortgage Corporation                        $1,069.00                               Debtor

    (E) DSO Claims in equal installments. Pay pre-petition domestic support obligation arrears (not provided for elsewhere in the
plan) in full in equal monthly installments over the life of the plan, estimated as:

CREDITOR NAME                                       TOTAL AMOUNT DUE                        INTEREST RATE
-NONE-


3.4       Attorney Fees. Pay Debtor's attorney $ 2,250.00 in equal monthly payments over 18 months (no less than 18 months).
Any additional fees allowed by the Court shall be paid pursuant to paragraph 3.6 below. [See procedures manual for limitations on use
of this paragraph]

3.5       Pay the following sub-paragraphs concurrently:

(A) Pre-petition arrears on secured claims paid in paragraph 3.3. Pay pre-petition arrearage on debts paid under paragraphs
3.3(C) or (D) in equal monthly installments over the period set forth below and with the interest rate identified below, estimated as
follows:

CREDITOR NAME                          TOTAL AMOUNT DUE                    CURE PERIOD                 INTEREST RATE
Freedom Mortgage Corporation $3,238.48                                     48 months                   0.00

     (B) Secured claims to be paid in full. The following claims shall be paid in full in equal monthly payments over the period set
forth below with 6.25 % interest:

CREDITOR                               EST BALANCE DUE                     REPAY PERIOD                TOTAL w/INTEREST
                                                                       2
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         Case 18-48102             Doc 20        Filed 01/18/19          Entered 01/18/19 23:20:06           Main Document
                                                                       Pg 3 of 8
CREDITOR                               EST BALANCE DUE                         REPAY PERIOD             TOTAL w/INTEREST
-NONE-

     (C) Secured claims subject to modification. Pay all other secured claims the fair market value of the collateral, as of the date the
petition was filed, in equal monthly payments over the period set forth below with 6.25 % interest and with any balance of the debt
to be paid as non-priority unsecured debt under paragraph 3.9(A), estimated as set forth below. If no period is set forth below for a
claim to be paid under this paragraph, the claim will be paid over the plan length.

CREDITOR                       BALANCE DUE                    FMV                       REPAY PERIOD           TOTAL w/INTEREST
Chrysler Capital               13,875.29                      12,000.00                 60 months                           $14,003.40
Commerce Bank                  11,870.00                      10,000.00                 60 months                           $11,669.40
Metropolitan St. Louis         1,020.47                       151,500.00                60 months                            $1,189.64
Sewer District

     (D) Co-debtor debt paid in equal monthly installments. The following co-debtor claims(s) to be paid by Trustee or by the
co-debtor as noted below. If paid by Trustee, such claim(s) shall be paid in equal monthly installments over the period and with
interest as identified below:

CREDITOR                           EST BALANCE                         TRUSTEE/CO-DEBTOR            PERIOD          INTEREST RATE
-NONE-

     (E) Post Petition Fees and Costs. Pay any post-petition fees and costs as identified in a notice filed pursuant to Federal Rule of
Bankruptcy Procedure 3002.1 as a supplement to an allowed claim or any other post-petition fees and costs which the Court allows
and orders the Trustee to pay. Any such amounts shall be paid in equal monthly payments over the remainder of the plan duration and
shall not receive interest.

3.6       Additional Attorney Fees. Pay $ 2400 of Debtor's attorney's fees and any additional Debtor's attorney's fees allowed by the
Court.

3.7       Pay sub-paragraphs concurrently:

     (A) Unsecured Co-debtor Guaranteed Claims. The following unsecured co-debtor guaranteed debt to be paid by Trustee or by
the co-debtor as noted below. If paid by Trustee, pay claim in full with interest rate as identified below:

CREDITOR NAME                          EST TOTAL DUE                           TRUSTEE/CO-DEBTOR        INTEREST RATE
-NONE-

    (B) Assigned DSO Claims. Domestic support obligation arrearages assigned to, or recoverable by, a governmental unit, will be
paid a fixed amount with the balance to be owed by Debtor(s) after completion of the Plan, pursuant to §§ 507(a)(1)(B) and
1322(a)(4). Regular payments that become due after filing shall be paid directly by Debtor(s):

CREDITOR                                            TOTAL DUE                                 TOTAL AMOUNT PAID BY TRUSTEE
-NONE-

3.8      Priority Claims. Pay priority claims allowed under § 507 that are not addressed elsewhere in the plan in full, estimated as
follows:

CREDITOR NAME                                              TOTAL AMOUNT DUE
Collector of Revenue                                       $627.30
IRS                                                        $1,000.00

3.9       Pay the following sub-paragraphs concurrently:

    (A) General Unsecured Claims. Pay non-priority, unsecured creditors. Estimated total owed: $ 38,144.94 . Amount required to
be paid to non-priority unsecured creditors as determined by §1325(a)(4) hypothetical Chapter 7 liquidation calculation:
$ 23,586.38 . Amount required to be paid to nonpriority unsecured creditors as determined by §1325(b) calculation: $ -18,924.12 .
Debtor guarantees a minimum of $ 23,586.38 (Dollar amount or 100%) will be paid to non-priority unsecured creditors.

      (B) Surrender of Collateral. Debtor proposes to surrender the following collateral to the

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          Case 18-48102            Doc 20        Filed 01/18/19        Entered 01/18/19 23:20:06            Main Document
                                                                     Pg 4 of 8
following creditor(s). (Choose one).

         Any deficiency shall be paid as non-priority unsecured debt.
         The Trustee shall stop payment on the creditor's claim until such time as the creditor files an amended claim showing the
      secured and unsecured deficiency (if any) still owed after sale of the surrendered collateral

CREDITOR                                                   COLLATERAL
-NONE-

   (C) Rejected Executory Contracts/Leases. Debtor rejects the following executory contract(s) with the following creditor(s).
Any balance to be paid as non-priority unsecured debt:

CREDITOR                                                   CONTRACT/LEASE
-NONE-

Part 4.             OTHER STANDARD PLAN PROVISIONS

4.1      Absent a specific order of the Court to the contrary, the Chapter 13 Trustee, rather than the Debtor, will make all
pre-confirmation disbursements pursuant to § 1326(a).

4.2      All creditors entitled to pre-confirmation disbursements, including lease creditors, must file a proof of claim to be entitled to
receive payments from the Chapter 13 Trustee.

4.3       The proof of claim shall control the valuation of collateral and any valuation stated in the plan shall not be binding on the
creditor.

4.4     The Trustee, in the Trustee’s sole discretion, may determine to reserve funds for payment to any creditor secured by a
mortgage on real estate pending filing of a claim.

4.5        Any post-petition claims filed and allowed under § 1305 may be paid through the plan.

4.6      Debtor is not to incur further credit or debt without the consent of the Court unless necessary for the protection of life, health
or property and consent cannot be obtained readily.

4.7      All secured creditors shall retain the liens securing their claims until the earlier of the payment of the underlying debt
determined under non-bankruptcy law or discharge under § 1328. However, Debtor will request avoidance of non-purchase money
liens secured by consumer goods as well as judicial liens which impair exemptions and said creditors will not retain their liens if the
court enters an order granting Debtor's request to avoid the liens.

4.8      Any pledged credit union shares or certificates of deposit held by any bank shall be applied to the amount owed such
claimant.

Part 5.             NONSTANDARD PLAN PROVISIONS

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not
otherwise included in the Official Form or Local Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are
ineffective.

The following plan provisions will be effective only if there is a check in the box “included” in Part 1 of this Plan:

5.1



5.2


Part 6.             VESTING OF PROPERTY OF THE ESTATE

                                                                       4
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          Case 18-48102            Doc 20        Filed 01/18/19            Entered 01/18/19 23:20:06           Main Document
                                                                         Pg 5 of 8
6.1        Title to Debtor's property shall re-vest in the Debtor(s) upon confirmation.

Part 7.             CERTIFICATION

The debtor(s) and debtor(s) attorney, if any, certifies that the wording and order of the provisions in this Plan are identical to
those contained in Official Local Form 13 of the Eastern District of Missouri, other than any Nonstandard Plan Provisions in
Part 5.

DATE:         January 18, 2019                                       DEBTOR:       /s/ Brian Keith Henderson
                                                                                   Brian Keith Henderson

DATE:         January 18, 2019                                       /s/ Tracy A. Brown
                                                                     Tracy A. Brown #47074MO
                                                                     Attorney or Debtor(s)
                                                                     Law Office of Tracy A. Brown, PC
                                                                     1034 S. Brentwood Blvd., Suite 1830
                                                                     St. Louis, MO 63117-1284
                                                                     314-644-0303
                                                                     314-644-0333
                                                                     tbrownfirm@bktab.com




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          Case 18-48102                    Doc 20           Filed 01/18/19      Entered 01/18/19 23:20:06         Main Document
                                                                              Pg 6 of 8
                                                               United States Bankruptcy Court
                                                                     Eastern District of Missouri
 In re      Brian Keith Henderson                                                                      Case No.   18-48102
                                                                                 Debtor(s)             Chapter    13

                               CERTIFICATE OF SERVICE – CHAPTER 13 REPAYMENT PLAN

I certify that a true and correct copy of the foregoing document was filed electronically on 1/18/19 with the
United States Bankruptcy Court, and has been served on the parties in in interest via e-mail by the Court’s
CM/ECF System as listed on the Court’s Electronic Mail Notice List.
I certify that a true and correct copy of the foregoing document was filed electronically with the United States
Bankruptcy Court, and has been served by Regular United States Mail Service, postage fully pre-paid, address
to those parties listed on the Court’s Manual Notice List and listed below on 1/18/19:
I certify that a true and correct copy of the foregoing document was filed electronically with the United States
Bankruptcy Court, and has been served on the following Insured Depository Institution pursuant to Fed. R.
Bankr. P. 7004(h), or on the United States, or any of its officers or agencies pursuant to Fed. R. Bankr. P.
7004(b)(4) or (5), on 1/18/19 by first class mail addressed to the following persons or entities:

Diana S. Daugherty                               Missouri Department of Revenue               IRS Centralized Insolvency
PO Box 430908                                    PO Box 385                                   PO Box 7346
St. Louis, MO 63143                              Jefferson City, MO 65105-0385                Philadelphia, PA 19101-7346

US Attorney
111 S. 10th Street, 20th Floor
St. Louis, MO 63102

 Account Resolution Corp
 ATTN: Bankruptcy
 PO Box 3860
 Chesterfield, MO 63006
 Allan Tree Service Inc.
 PO Box 25
 Hartford, IL 62048
 American Medical Collection Agency
 Attention: Bankruptcy
 4 Westchester Plaza, Suite 110
 Elmsford, NY 10523
 Athletico Physical Therapy
 600 Oakmont Ln., Ste. 600C
 Westmont, IL 60559
 Bank Of The West
 ATTN: Bankruptcy
 180 Montgomery Street 25th Floor
 San Francisco, CA 94104
 Bank of The West
 Attn: Bankruptcy
 180 Montgomery Street
 25th Floor
 San Francisco, CA 94104
 Choice Recovery
 1550 Old Henderson Road
 Suite 100
 Columbus, OH 43220
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                                                                             Pg 7 of 8
 Chrysler Capital
 PO Box 961275
 Fort Worth, TX 76161-1275
 Collector of Revenue
 41 S. Central Ave.
 ATTN: Bankruptcy
 Saint Louis, MO 63105
 Commerce Bank
 Attn: Bankruptcy /KC- Rec -10
 PO Box 419248
 Kansas City, MO 64141
 Consumer Collection Management
 P.O. Box 1839
 Maryland Heights, MO 63043-1839
 Dept of Ed / Navient
 Attn: Claims Dept
 PO Box 9635
 Wilkes Barr, PA 18773
 Discover Financial
 PO Box 3025
 New Albany, OH 43054
 Diversified Consultants, Inc.
 Attn: Bankruptcy
 PO Box 551268
 Jacksonville, FL 32255
 Down to the Wire
 6209 Mid Rivers Mall Drive
 #174
 Saint Charles, MO 63304
 Freedom Mortgage Corporation
 Attn: Bankruptcy
 PO Box 50428
 Indianapolis, IN 46250
 Ghazal-Albar, MD, Naman
 PO Box 652
 Chesterfield, MO 63006
 Internal Revenue Service
 PO Box 7317
 c/o Missouri Cases
 Philadelphia, PA 19101-7317
 IRS
 Centralized Insolvency Operation
 PO Box 7346
 Philadelphia, PA 19101-7346
 IRS Insolvency
 1222 Spruce St.
 MS 5334 STL
 Saint Louis, MO 63103
 Labtest
 5000 Cedar Plaza Pkwy
 Ste 200
 Saint Louis, MO 63128-3857
 Mercy Clinic - St. Louis
 14528 S.Outer Forty, Ste. 100
 Chesterfield, MO 63017
 Metropolitan St. Louis Sewer District
 Attn: Bankruptcy Dept
 2350 Market Street
 Saint Louis, MO 63103-2555



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                                                                             Pg 8 of 8
 MS Services, LLC
 123 W 1st Street
 Suite 430
 Casper, WY 82601
 Naman Ghazal-Albar, MD
 PO Box 652
 Chesterfield, MO 63006
 Progressive Leasing
 NPRTO Mid-West Leasing
 256 West Data Drive
 Draper, UT 84020
 Receivable Solutions Inc.
 PO Box 1984
 Southgate, MI 48195-0984
 Slucare
 PO BOX 18353M
 Saint Louis, MO 63195-8353
 Spectrum
 PO Box 790086
 Saint Louis, MO 63179-0086
 SSM Health Medical Group
 1802 W. Beltline Highway
 Madison, WI 53713
 Synchrony Bank/Sams Club
 Attn: Bankruptcy Dept
 PO Box 965060
 Orlando, FL 32896
 Verizon Wireless
 Attn: Verizon Wireless Bankruptcy Admini
 500 Technology Dr, Ste 550
 Weldon Spring, MO 63304
 Wf/fmg
 Attn: Bankruptcy
 PO Box 51193
 Los Angeles, CA 90051



                                                                             /s/ Tracy A. Brown
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